Case 6:20-cv-00523-ADA Document 1-3 Filed 06/12/20 Page 1 of 10




        Exhibit 3
                           Case 6:20-cv-00523-ADA Document 1-3 Filed 06/12/20 Page 2 of 10




                                          U.S. Patent No. 8,054,090 (“’090 Patent”)
Exemplary Accused Product

        Cypress products, including at least each of the following products (and their variations) infringe at least Claim 1 of the ’090
Patent: Capsense enabled Cypress products, including MBR3, CY8CMBR2110, CY8CMBR2044, CY8CMBR2016, CY8CMBR2010,
CY8CMBR3XXX, and Capsense-enabled PSoC. The infringement chart below is based on the Cypress PSoC with CapSense
(“CapSense”), which is exemplary of the infringement of the ’090 Patent.

                  Claims                                                             CapSense
 [1pre] A method comprising:                 The CapSense touchcontroller provides capacitive touch sensing functionality,
                                             including in noisy and moist environments.

                                             For example, a CapSense-enabled touch sensor may exhibit noise sources impacting
                                             signal to noise (SNR) parameters. CapSense utilizes capacitor raw capacitor charge
                                             counts to distinguish touch from noise.




                                             See https://www.cypress.com/file/41076/download




                                                                Page 1
                           Case 6:20-cv-00523-ADA Document 1-3 Filed 06/12/20 Page 3 of 10




                                            See https://www.cypress.com/file/41076/download




                                            See https://www.cypress.com/file/41076/download




                                            See https://www.cypress.com/file/46081/download

[1a] grounding a first plate of a charge-   The CapSense touchcontroller grounds a first plate of a charge-accumulation capacitor.
accumulation capacitor;



                                            See https://www.cypress.com/file/41076/download




                                                              Page 2
                          Case 6:20-cv-00523-ADA Document 1-3 Filed 06/12/20 Page 4 of 10




                                             See https://www.cypress.com/file/46081/download

[1b] injecting, through a resistor coupled   The CapSense touchcontroller injects, through a resistor coupled to a voltage source, a
to a voltage source, a predetermined         predetermined amount of charge onto a charge-measurement capacitor.
amount of charge onto a charge-
measurement capacitor;                       For example, CapSense charges CINTA to a predetermined voltage Vref.




                                                               Page 3
                         Case 6:20-cv-00523-ADA Document 1-3 Filed 06/12/20 Page 5 of 10




                                           See https://www.cypress.com/file/46081/download




                                           See https://www.cypress.com/file/46081/download

[1c] transferring an amount of charge      The CapSense touchcontroller transfers an amount of charge accumulated on a second
accumulated on a second plate of the       plate of the charge-accumulation capacitor to a first plate of the charge-measurement
charge-accumulation capacitor to a first   capacitor, the charge having accumulated on the second plate of the charge-
plate of the charge-measurement            accumulation capacitor due at least in part to noise.
capacitor, the charge having accumulated
on the second plate of the charge-



                                                             Page 4
                          Case 6:20-cv-00523-ADA Document 1-3 Filed 06/12/20 Page 6 of 10




accumulation capacitor due at least in   For example, CapSense transfers charge accumulated on the Rx electrode to the CINTA
part to noise; and                       external capacitor. The total charge court includes charges accumulated due to the
                                         parasitic capacitance and noise in the touch sensor.




                                         See https://www.cypress.com/file/41076/download




                                         See https://www.cypress.com/file/46081/download




                                                           Page 5
Case 6:20-cv-00523-ADA Document 1-3 Filed 06/12/20 Page 7 of 10




              See https://www.cypress.com/file/46081/download




                               Page 6
Case 6:20-cv-00523-ADA Document 1-3 Filed 06/12/20 Page 8 of 10




              See https://www.cypress.com/file/46081/download




                               Page 7
                        Case 6:20-cv-00523-ADA Document 1-3 Filed 06/12/20 Page 9 of 10




                                        See https://www.cypress.com/file/46081/download




                                        See https://www.cypress.com/file/46081/download




                                        See https://www.cypress.com/file/41076/download

[1d] determining, through a measured    The CapSense touchcontroller determines, through a measured voltage across the
voltage across the charge-measurement   charge-measurement capacitor, the amount of charge.
capacitor, the amount of charge.
                                        For example, CapSense sensor detects a touch by measuring voltage across CINTA.




                                        See https://www.cypress.com/file/41076/download



                                                          Page 8
Case 6:20-cv-00523-ADA Document 1-3 Filed 06/12/20 Page 10 of 10




                             Page 9
